          Case 1:18-cv-00085-RP Document 8 Filed 02/26/18 Page 1 of 16



                         UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF TEXAS
                                AUSTIN DIVISION


 JOHN DOE
                                                  Civil Action No.: 1:18-cv-00085-RP
        Plaintiff;

        vs.

 THE UNIVERSITY OF TEXAS
 AT AUSTIN;
 GREGORY FENVES,
 individually and in his official capacity.

        Defendants.



              Plaintiff’s Response to Defendant’s Motion to Dismiss


       Defendant’s Motion to Dismiss should be denied because Plaintiff has stated

claims for due process violations resulting from University’s disciplinary process, and for

discrimination under Title IX.

       Plaintiff’s claims are ripe for review because the facts are as developed as they

ever will need to be to answer the legal questions presented by the Plaintiff’s Complaint.

       Plaintiff has standing because he has sustained actual damages caused by UT’s

decision to initiate disciplinary proceedings against him, sustains ongoing damages so

long as he is subject to UT’s disciplinary process, and is under the real and immediate

threat of irremediable damages if he is ultimately suspended for two years from the

University.



                                              1
          Case 1:18-cv-00085-RP Document 8 Filed 02/26/18 Page 2 of 16



   I.      Post-filing Factual Developments

        After Plaintiff filed his Original Petition, he was informed by UT that the hearing

originally scheduled for February 7th, 2018 was cancelled. After discussion with

representatives at UT and opposing counsel, it was determined that the disciplinary action

against Plaintiff has been reset to the “investigation phase.”

        Due to UT’s repeated last second amendments to their investigation report, as

described in Plaintiff’s Complaint, UT’s procedures require, as a formality, that the

disciplinary process be reset and a new investigation report be issued before a hearing in

Plaintiff’s case will take place at the University.

        As of this filing, a new report has not been issued and a new hearing has not been

set. However, after discussion with opposing counsel, it is only a matter of time until a

new report is created and a new hearing is set. The disciplinary case against Plaintiff is

still active, and based on representations made by opposing counsel, nothing about UT’s

recommended sanction, factual allegations, or standard of incapacitation will change.

        Given the University’s stated working definition of incapacitation as “diminished

social inhibition,” (paraphrasing) and the fact that the evidence is clear that the

complainant had diminished social inhibition (Doe’s testimony established this), then the

future sham hearing provided by the University is really a fait accompli of being labeled

a rapist and suspension from the University. For Mr. Doe and any other student who

consents to sex after a couple of drinks. The hearing itself is not necessary to establish a




                                               2
           Case 1:18-cv-00085-RP Document 8 Filed 02/26/18 Page 3 of 16



violation of Institution rules given the University’s ad hoc and unconstitutional definition

of “incapacitation.”

         Therefore, these factual developments to not affect the judiciable controversy

presented by Plaintiff’s Complaint, and the Defendant’s Motion to Dismiss should be

denied. Plaintiff is sustaining actual, ongoing damages as a result of the continued

disciplinary action against him. Using the University’s interpretation of incapacitation,

the result of the hearing is a mere formality.

   II.      Plaintiff has stated a justiciable case and controversy under Article III.
            Plaintiff has shown actual, as well as imminent threats of injuries, and his
            case is ripe for adjudication.

         A. Ripeness

         Ripeness is a justiciability doctrine that is designed to prevent courts from

“entangling themselves in abstract disagreements.” National Park Hospitality Ass’n v.

Dept. of Interior, 538 U.S. 803, 808 (2003).

         The standard for considering a challenge to the ripeness of claims involves

applying a two-part test. Id at 809. The court should determine whether the issues are fit

judicial decision, and whether the Plaintiff has shown a sufficient hardship that would

result from withholding adjudication of the issues. Id.

         National Park, a ripeness case quoted by the Defendants, considered a challenge

to the facial validity of a National Park regulation, and evaluated the ripeness of the

Plaintiffs’ claims under this two-part framework. Id. Under the first prong of the test, the




                                                 3
          Case 1:18-cv-00085-RP Document 8 Filed 02/26/18 Page 4 of 16



court explained that “fitness” concerns itself with whether or not the facts are sufficiently

developed to enable a judicial determination. Id.

       Under the fitness prong, the court decided that even though the regulation being

challenged had not yet been enforced against the Plaintiffs, the purely legal question of

statutory interpretation that the case presented, was “as ‘fit’ for judicial determination,”

as it ever was going to be. Id. The first prong of the test was satisfied.

       The Court in National Park however, stopped short of performing a detailed

application of the second prong of the test, and instead skipped forward to their ultimate

decision to dismiss the case based on the Plaintiff’s lack of standing to sue. Id.

       In a later Fifth Circuit case applying the holding in National Park however, the

court did perform a full ripeness analysis, and it found a hardship. Roark & Hardee v.

City of Austin, 522 F.3d 533 (5th Cir. 2008) (holding that if the Plaintiffs were prosecuted

and punished under a new city ordinance they would sustain irreparable harm.) The

Plaintiffs in that case made a pre-enforcement facial challenge to the validity of a city

ordinance for vagueness. Id. Similar to National Park, the court found the issues

presented to involve purely legal questions and the first prong of the ripeness test was

satisfied. Id. The court then went on to reason, “Plaintiffs have shown the real possibility

of irremediable adverse consequences were we to deny review, Plaintiffs have shown

hardship.” Id at 545.

       The logic used by the courts in these cases is directly applicable here. Plaintiff has

raised questions in his Complaint where all the facts and events necessary to enable

judicial determination have already taken place. The questions are: 1. is the UT definition


                                              4
           Case 1:18-cv-00085-RP Document 8 Filed 02/26/18 Page 5 of 16



of incapacitation vague to the extent that it violates procedural and/or substantive due

process?; and 2. was the decision to initiate disciplinary proceedings against the Plaintiff

the result of gender bias? Plaintiff’s Original Verified Complaint (“Dkt. 1”) at ¶ 65-83,

91-97.

         No further factual development is necessary to answer these questions. The

University rules are fixed, and the fact that John is about to be subject to a disciplinary

action pursuant to that rule is known. See generally Dkt. 1. The factual allegations giving

rise to that disciplinary action are also known. Id. If UT’s interpretation of the term

incapacitation encompasses intoxication, then the outcome of the hearing is a foregone

conclusion. It is undisputed in the facts underlying the sexual assault case that both

parties were intoxicated that night. There is no doubt as to the outcome of the hearing if

all that UT needs to prove is that the complaining witness was intoxicated.

         In this case, Plaintiff has also shown that there is a hardship. There is a real

possibility that John will be suspended for two years, and that he will incur “irremediable

adverse consequences” as a result. Dkt. 1 ¶ 33-41. A delay in education in the absence of

a comparable substitute is an irreparable harm. See Fisher v. Texas, 556 F.Supp.2d 603,

609 (W.D. Tex. 2008) (Holding that a delay in obtaining admission to a public school can

be irreparable when a person has no comparable opportunities elsewhere). He would lose

opportunities that he could never get back. He would lose time, and his scholastic

reputation would be forever diminished: he would need to explain this delay in his

education to any employers or graduate programs to which he may eventually apply.




                                                5
          Case 1:18-cv-00085-RP Document 8 Filed 02/26/18 Page 6 of 16



       Plaintiff has also shown that there is current hardship. If required to continue to

participate in UT’s disciplinary process he will continue to suffer injuries related to his

participation in that process. See infra Part II.B. Standing.

       Plaintiff’s claims of due process violations related to vagueness, and the claim

related to Title IX discrimination are therefore ripe for adjudication because they pass the

two part test for ripeness.

       B. Standing

       To establish standing a Plaintiff needs to show an injury-in-fact. Lujan v.

Defenders of Wildlife, 504 U.S. 555 (1992). In addition to being concrete and

particularized, and injury-in-fact must be either “actual or imminent.” Id at 560.

Defendants have asserted in their motion that Plaintiff has not shown actual injuries, or

the imminent threat of injury. Defendants’ UT and Gregory Fenves, in his official

capacity, Motion to Dismiss under FRCP 12(b)1 and 12(b)6 (“Dkt. 7”) at 6. The facts

alleged in Plaintiff’s Complaint show both.

       To establish standing, the injury or the threat of the injury must be both “real and

immediate.” Roark & Hardee at 542. The law does not require that a real and immediate

threat of an injury be without any unresolved contingencies. Id. In Roark & Hardee, the

Plaintiffs faced a “real and genuine” threat of criminal prosecution under a city ordinance

which they alleged was facially invalid. Id at 541. The court held the “significant threat

of prosecution” was enough to confer standing Id at 543.




                                              6
           Case 1:18-cv-00085-RP Document 8 Filed 02/26/18 Page 7 of 16



       John Doe’s case involves a threat even more real than the substantial threat of

prosecution in Hardee. Dkt. 1 ¶ 33-42. It involves the active prosecution of the Plaintiff

under a university standard of sexual assault that is unconstitutional. Id. The prosecution

of the Plaintiff by the University is not merely threatened, the disciplinary action is

pending its conclusion. Id. In this case, where the University will only need to prove the

complaining witness was intoxicated to enforce a suspension for sexual assault, the

hearing outcome is not uncertain. When John is suspended after the University hearing

takes place then clear, significant, and irreparable injuries result. Dkt. 1 at ¶ 43-53. Even

a real and immediate threat of irreparable injury is enough to confer standing on its own,

and in this case there is more. See Roark & Hardee at 543.

       In addition to this threat of injury however, Plaintiff has also sustained actual

injuries, and continues to sustain more injuries so long as he is subject to the University’s

disciplinary process. Dkt. 1 at ¶ 81. A prosecution by the University for Sexual Assault

under Title IX itself harms the accused student, irrespective of its outcome. It causes

mental and emotion damage from being labelled a rapist, loss of opportunities as a result

of the uncertainty the process injects into his future, and significant monetary costs as a

result of needing to be able to advocate for himself in the University’s disciplinary

process.

       Typically, the largest cost associated with needing to advocate for oneself against

the University is the cost of obtaining an advisor to guide the accused student through the

University’s disciplinary process. In this case, Plaintiff’s advisor was an attorney, and




                                              7
          Case 1:18-cv-00085-RP Document 8 Filed 02/26/18 Page 8 of 16



those attorney’s fees are damages that Plaintiff has sustained as a direct result of the

Defendant’s conduct.

       These damages are not “attorney’s fees” in the usual sense which cannot confer

standing. See Steel Co. v. Citizens for a Better Environment, 523 U.S. 83, 108 (1998)

(holding that reimbursement for the costs of litigation alone cannot confer standing.)

They are not “attorney’s fees” in that sense because they are not incident to this or any

litigation. They have nothing to do with this litigation. In UT’s disciplinary process the

accused student is expected to be his own advocate. Dkt. 1 at ¶ 34. The need to retain an

advisor to guide Plaintiff through the disciplinary process is a direct and foreseeable

result of subjecting the Plaintiff to the disciplinary process.

       In this case, without effective guidance from an advisor, the disciplinary process

would have failed on a basic level. Dkt. 1 at ¶ 54-56. The University would have

withheld significant and exculpatory evidence from the Plaintiff. Id. Plaintiff’s advisor

helped him object to the evidence being offered against him at the hearing and the

University was required to turn over evidence that the Defendants were otherwise going

to withhold. Id.

       An undergraduate college student would never have known to make an objection

in this circumstance. Since Plaintiff did have an attorney however, he did object.

According to the Defendants, this is UT’s process “working.” Dkt. 7 at 11. If that is the

process working, it would seem then that retaining an attorney is an important

requirement of that process.




                                               8
          Case 1:18-cv-00085-RP Document 8 Filed 02/26/18 Page 9 of 16



       These costs that the Plaintiff incurred to retain an attorney therefore, are actual

damages that confer standing. They are a direct and foreseeable result of the Defendants

action to charge John with violating the school’s sexual assault policy, and in this case

Plaintiff’s retaining an attorney turned out to be necessary to prevent the process from

failing on a basic level.

       The costs that Plaintiff occurs as a result of needing to retain an advisor for help

during the University’s disciplinary process are ongoing. They will continue so long as

the University has an active disciplinary action pending against the Plaintiff.

       Plaintiff has standing sue for both of these reasons. The threat of irreparable harm

confers standing, as does the ongoing monetary damages that the Plaintiff sustains as a

result of the active disciplinary action against him.

   III.    Plaintiff has stated a § 1983 Due Process claim against President Fenves in
           his official capacity, and a Title IX selective enforcement claim against the
           University of Texas.


       A. Rule 12 Pleading Standard

       To overcome a motion to dismiss under Rule 12(b)(6) a Plaintiff must only raise

his right to relief beyond a speculative level. In re Katrina Canal Breaches Litig., 495

F.3d 191, 205 (5th Cir. 2007) (quoting Bell Atlantic Corp. Twombly, 550 U.S. 544

(2007)). Plaintiff must allege sufficient facts which, when taken as true, create the

reasonable inference that each material point necessary to sustain a recovery exists. Id.

       Plaintiffs have alleged sufficient facts to overcome this burden and



                                              9
         Case 1:18-cv-00085-RP Document 8 Filed 02/26/18 Page 10 of 16



the Defendants’ Motion under Rule 12(b)(6) should be denied.

   B. Vagueness
       A school cannot justify the punishment of a student under rules that are so

vague they are completely absent of meaning. See Marco Outdoor Adv., Inc. v.

Regional Transit Auth., 489 F.3d 669, 672 (5th Cir. 2007) (holding that an egregious

government action is barred by the requirements of substantive due process even if

implemented by fair procedures); and Bethel Sch. Dist. No. 403 v. Fraser, 478 U.S.

675, 686 (1986) (implying school disciplinary policies must be held to some standard

of specificity, although not to the same degree as criminal laws.). Rules that have no

meaning invoke both the substantive and procedural prongs of the due process

guarantee. Papachristou v. City of Jacksonville, 450 U.S. 156, 162 (1972). An

arbitrary government action offends substantive due process, and standards of conduct

that have no meaning offend the notice requirement of procedural due process. Id.

       A student is responsible for “rape” under University rules if he or she has sex

with a person when they are unable to consent due to “incapacitation.” Dkt. 1 at ¶ 21-

22. The University rules state that incapacitation is “a state of being that prevents an

individual from having the capacity to consent.” Id. This definition is logically

meaningless because it is circular; the root of the word incapacitation has been used to

define the term.

       Defendants admit in their motion that the University cannot provide rules

which state no standard at all. Dkt. 7 at 13. This rules does provide no standard at all.

The plain language of the rule is a nullity. A rule which essentially states,


                                             10
         Case 1:18-cv-00085-RP Document 8 Filed 02/26/18 Page 11 of 16



“incapacitation is when you don’t have capacity,” provides no more descriptive value

as to the meaning of incapacitation than would a blank space on the page.

       Plaintiff has stated that he does not know what UT’s standard of

incapacitation means, because nobody could know what UT’s standard of

incapacitation means. Dkt. 1 at ¶ 74. Anyone reading the rule, trying to follow the

rule, or enforcing the rule must necessarily guess at what the term incapacitation

means in UT’s rules. Plaintiff has referred to repeated instances of the Defendants

engaging in exactly that type of guesswork. Dkt. 1 at ¶ 73 (quoting the President of

the University and a Title IX department investigator giving different definitions of

the term “incapacitation” during the adjudication of the same sexual assault

accusation).

       Defendants have suggested that the “key is whether the Plaintiff was on

notice” that his conduct could be against the University’s rules. Dkt. 7 at 13. He

wasn’t. A meaningless rule does not provide notice. Moreover, Plaintiff’s alleged

conduct was that he had sex with a female student who was intoxicated. Dkt. 1 at ¶

26; Dkt. 7 at 14. Nobody is on notice that having sex with an intoxicated person is a

rule violation. It is not illegal, not immoral, and not at all abnormal in the context of

18-22 year old college students.

       Doe v. Baum, cited by the Defendants illustrates this point. Dkt. 7 at 14. In

Baum the court dismissed a vagueness challenge referencing “fair notice” because

the accused student had sex with a person who was “unaware of, and unable

consciously to perceive, participate in, object to, or give consent to, the sexual


                                              11
         Case 1:18-cv-00085-RP Document 8 Filed 02/26/18 Page 12 of 16



activity that ensued.” Doe v. Baum, 227 F. Supp. 3d 784, 799 (E.D. Mich. 2017). In

other words, the Plaintiff in Baum was accused of having sex with a female student

when she was unconscious.

       The present case is not one where the allegation is that Plaintiff had sex with

the complaining witness while she was unconscious like in Baum. Dkt. 1 at ¶ 26.

Having sex with someone who is unconscious is obviously sexual assault. It is a

criminal offense, and everyone has fair notice of that. Plaintiff in this case however,

is being prosecuted for sexual assault because he had sex with another student who

was intoxicated. Id. If the University wants to make it against the rules for students to

have sex while they are intoxicated, then they need to give their students, including

Plaintiff, fair notice of that. The University’s rules failing to provide fair notice that

having sex with an intoxicated person could be a violation of university rules is a

procedural due process violation.

       The University’s rules failing to provide any meaningful standard of

incapacitation is a substantive due process violation as well. The punishment sought,

and the circumstances incident to this disciplinary action raise the Defendants

conduct to a substantive violation. It shocks the conscious that the University would

so recklessly, yet at the same time so zealously, pursue a punishment that causes

such significant harm to the Plaintiff for the rest of his life. Plaintiff has alleged facts

which show the University withheld exculpatory evidence and made last second

alterations to the shoddy logic and analysis in their investigation report, all in an

effort to enforce a rule which specifies no standard at all. Dkt. 1 at ¶ 54-64. This


                                               12
         Case 1:18-cv-00085-RP Document 8 Filed 02/26/18 Page 13 of 16



conduct is shocking. The University has the Plaintiff’s future squarely in the palm of

their hands in this disciplinary process, and the fact that the University would to

these great lengths to enforce a rule to which they themselves cannot meaningfully

define when asked is unconscionable.

       The facts alleged in Plaintiff’s Complaint show that the University’s rules

provide no meaningful definition of the term incapacitation, and that Plaintiff is

being threatened with suspension for conduct that he had no notice could have been a

rule violation. These facts raise the Plaintiff’s probability of relief above a

speculative level and the Defendant’s Motion should be denied.

   C. Selective Enforcement

       Plaintiff’s Complaint has also alleged sufficient facts to give rise to the

reasonable possibility of success on the merits of a Title IX discrimination claim.

       Title IX liability for disciplining a student at a covered university can occur

in two circumstances. Plummer at 777 (citing Yusef v. Vassar Coll., 35 F.3d 709,

715 (2d. Cir. 1994)). The circumstance raised by the facts in Plaintiff’s Complaint

is “selective enforcement.” Id.

       The selective enforcement framework does not consider the students

culpability, but asks whether the University’s “decision to initiate [disciplinary]

proceedings,” was “affected by the charged student’s gender.” Id.

       Recently the Second Circuit held that a student was permitted to proceed on

Title IX claims under this general framework when he alleged he was wrongfully held

responsible for sexual assault by his school, and the school was “in the midst of a


                                              13
         Case 1:18-cv-00085-RP Document 8 Filed 02/26/18 Page 14 of 16



public campaign criticizing its alleged weak response to female students’ complaints of

sexual assault by males.” Id. at 778 (citing Doe v. Columbia Univ., 831 F.3d 46, 50-59

(2d. Cir 2016). The court reasoned it “is entirely plausible that the University’s

decision-makers and its investigators were motivated to favor the accusing female over

the accused male, so as to protect themselves and the University from accusations that

they had failed to protect female students from sexual assault.” Columbia at 57.

       Every public institution in this country is under the microscope of public

opinion regarding the way they handle sexual assault accusations. The Defendants have

prioritized their standing in the court of public opinion over fairness toward male

students in their disciplinary process. When these sort of political motivations

manifests themselves as bias against male students, that conduct is actionable,

intentional gender discrimination under Title IX. Columbia at 50-59.

       The facts alleged in Plaintiff’s Complaint raise the probability of his right to

relief under Title IX above a speculative level. The University chose to enforce their

sexual assault policy against the male student and not against female student in this

case. However, the facts in Plaintiff’s Complaint show that two intoxicated students had

sex in the complaining witness’s bedroom that night. Dkt. 1 at ¶ 12. If the University’s

standard is that intoxication alone voids freely given consent, then Plaintiff was unable

to consent under that standard as well.

       The University did not so much as investigate Plaintiff’s intoxication and

capacity to give consent. The University’s proceeding against the Plaintiff and not the

female student is a result of gender bias.


                                             14
           Case 1:18-cv-00085-RP Document 8 Filed 02/26/18 Page 15 of 16



         Defendants have argued that the comparator in a Title IX selective enforcement

claim cannot be the accusing student, but there is no good reason for that, and the

Defendants offer none. The accusing student in a case like this is the best comparator

for a selective enforcement claim because two students could never be in more identical

circumstances.

   IV.      Conclusion

         For these reasons the Defendants Motion to Dismiss should be denied. Plaintiff

requests that the court enter an order denying the motion as such, and grant Plaintiff any

and all further relief to which Plaintiff may be entitled.




                                                    Respectfully Submitted,

                                                    /s/ Brian Roark
                                                    Brian Roark
                                                    SBN:
                                                    00794536
                                                    Botsford & Roark
                                                    1307 West Avenue
                                                    Austin, Texas 78701
                                                    Telephone: (512) 476 – 1900
                                                    Fax: (512) 479 – 8040
                                                    brian@brianroark.com

                                                    ATTORNEY FOR JOHN DOE




                                              15
        Case 1:18-cv-00085-RP Document 8 Filed 02/26/18 Page 16 of 16



                                 Certificate of Service

       I certify that on February 26, 2018 the foregoing document was served was filed
and served via the Court’s CM/ECF document filing system, which provided a copy to
counsel for Defendants.

Sean Flammer
Christine Smith
H. Carl Myers
Office of the Attorney General
300 W 15th Street
Austin, TX 78701
(512) 463-2120
Sean.flammer@oag.texas.gov
Christine.smith@oag.texas.gov
Carl.mysers@oag.texas.gov
Attorneys for Defendants UT
and Gregory Fenves



                                                      /s/ Brian Roark
                                                      Brian Roark




                                           16
